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                                 81,7('67$7(6',675,&7&2857
                              1257+(51',675,&72)&$/,)251,$
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     ,15(62&,$/0(',$$'2/(6&(17                         &DVH1RPG<*5
       $'',&7,213(5621$/,1-85<
     352'8&76/,$%,/,7</,7,*$7,21                         0'/1R

 
            7KLV'RFXPHQW5HODWHVWR                      /2&$/ *29(510(17 $1' 6&+22/
                                                           ',675,&7 0$67(5 6+257)250
            Leeds City Schools v. Meta                       &203/$,17 $1' '(0$1' )25 -85<
          Platforms, Inc., et al.                          75,$/

 
            Member case No.:
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       7KH 3ODLQWLII V  QDPHG EHORZ ILOH V  WKLV 6KRUW)RUP &RPSODLQW DQG 'HPDQG IRU -XU\ 7ULDO
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      DJDLQVW WKH 'HIHQGDQW V  QDPHG EHORZ E\ DQG WKURXJK WKHLU XQGHUVLJQHG FRXQVHO

      3ODLQWLII V  LQFRUSRUDWH V  E\ UHIHUHQFH WKH DOOHJDWLRQV FODLPV DQG UHOLHI VRXJKW LQ 3ODLQWLIIV¶

      0DVWHU/RFDO*RYHUQPHQW DQG 6FKRRO 'LVWULFW &RPSODLQW ³0DVWHU &RPSODLQW´  DV LW UHODWHV
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      WR WKH QDPHG 'HIHQGDQW V  FKHFNHGRII EHORZ  ILOHG LQ ,Q 5H 6RFLDO 0HGLD $GROHVFHQW
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      $GGLFWLRQ3HUVRQDO,QMXU\ 3URGXFWV /LDELOLW\ /LWLJDWLRQ 0'/ 1R  LQ WKH 8QLWHG 6WDWHV
 'LVWULFW &RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI &DOLIRUQLD 3ODLQWLII V  ILOH V  WKLV 6KRUW)RUP

 &RPSODLQWDVSHUPLWWHGE\&DVH0DQDJHPHQW2UGHU1R

           3ODLQWLII V  LQGLFDWH V  E\ FKHFNLQJ WKH UHOHYDQW ER[HV EHORZ WKH 3DUWLHV DQG &DXVHV
 RI$FWLRQVVSHFLILFWR3ODLQWLII V ¶FDVH

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 1         Plaintiff(s), by and through their undersigned counsel, allege(s) as follows:
 2    ,   '(6,*1$7(')2580
 3          )RU 'LUHFW )LOHG &DVHV ,GHQWLI\ WKH )HGHUDO 'LVWULFW &RXUW LQ ZKLFK WKH 3ODLQWLII V
 4             ZRXOGKDYHILOHGLQWKHDEVHQFHRIGLUHFWILOLQJ
 5                                            Northern District of Alabama
 6                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 7          )RU 7UDQVIHUUHG &DVHV ,GHQWLI\ WKH )HGHUDO 'LVWULFW &RXUW LQ ZKLFK WKH3ODLQWLII V
 8             RULJLQDOO\ILOHGDQGWKHGDWHRIILOLQJ n/a
 9             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
10   II.   ,'(17,),&$7,212)3$57,(63/$,17,)) 6
11         3. 3ODLQWLII V Name(s) of the local government or school district alleging claims against
12             Defendant(s):Leeds City Schools
13             ____________________________________________________________________
14         4. Number of schools served in the Plaintiff(s)’ school district or local community:
15                                                          4
16              ________________________________________________________________
17          Number of minors served in the Plaintiff(s)’ school district or local community:
18                                               Approximately 2,000
19              ____________________________________________________________________
20          At the time of the filing of this 6KRUW)RUP&RPSODLQW, Plaintiff(s) is/are a resident and
21             citizen of [,QGLFDWH6WDWH]:
22                                                       Alabama
23             ____________________________________________________________________
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      B.      DEFENDANT(S)
 1    7. Plaintiff(s) name(s) the following Defendant(s) in this action [Check all that apply]:
 2     META ENTITIES                                        TIKTOK ENTITIES
 3     ✘ META PLATFORMS, INC.,                                ✘ BYTEDANCE LTD
 4           formerly known as Facebook, Inc.                 ✘ BYTEDANCE INC.
 5     ✘ INSTAGRAM, LLC                                       ✘ TIKTOK LTD
 6     ✘ FACEBOOK PAYMENTS, INC.                              ✘ TIKTOK LLC
 7     ✘ SICULUS, INC.                                        ✘ TIKTOK INC.
 8     ✘ FACEBOOK OPERATIONS, LLC                           SNAP ENTITY
 9     ✘ FACEBOOK HOLDINGS, LLC                               ✘ SNAP, INC.
10     ✘ META PAYMENTS INC.                                 GOOGLE ENTITIES
11                                                            ✘ GOOGLE, LLC
12                                                            ✘ YOUTUBE, LLC
13

14         OTHER DEFENDANTS
15         For each “Other Defendant” Plaintiff(s) contends are additional parties and are liable
            or responsible for Plaintiff(s)’ damages alleged herein, Plaintiff(s) must identify by
           name each Defendant and its citizenship, and Plaintiff(s) must plead the specific facts
16         supporting any claim against each “Other Defendant” in a manner complying with the
           requirements of the Federal Rules of Civil Procedure. In doing so, Plaintiff(s) may
17         attach additional pages to this Short-Form Complaint.
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     NAME                                           CITIZENSHIP
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     III.       CAUSES OF ACTION ASSERTED
 1              8. The following Causes of Action asserted in the Master Complaint, and the allegations
 2                 with regard thereto, are adopted in this Short-Form Complaint by reference (check all
 3                 that are adopted):
 4                                             Count
                     Asserted Against1        Number                 Cause of Action (COA)
 5                                               1        NEGLIGENCE
                 ✘ Meta entities
 6               ✘ Snap
                 ✘ TikTok entities
 7               ✘ Google entities
 8                 Other Defendant(s)2
                 ✘ Meta entities                  2       PUBLIC NUISANCE
 9
                 ✘ Snap
10               ✘ TikTok entities
                 ✘ Google entities
11                 Other Defendant(s)
12
13
                                                      NOTE
14
      If Plaintiff(s) want(s) to allege additional Cause(s) of Action other than those selected in paragraph
15    8, which are the Causes(s) of Action set forth in the Master Complaint, the facts supporting those
      additional Cause(s) of Action, must be pled in a manner complying with the requirements of the
16    Federal Rules of Civil Procedure. In doing so, Plaintiff(s) may attach additional pages to this
      Short-Form Complaint.
17
     IV.        ADDITIONAL CAUSES OF ACTION
18
                9. Plaintiff(s) assert(s) the following additional Causes of Action and supporting
19
                   allegations against the following Defendants:
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            1
              For purposes of this paragraph, “entity” means those Defendants identified in Paragraph 7 (e.g.,
27          “TikTok entities” means all TikTok Defendants against which Plaintiff(s) is/are asserting claims).
            2
               Reference selected “Other Defendants” by the corresponding row number in the “Other
28          Defendant(s)” chart identified in Paragraph 7.

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 1          :+(5()25(, Plaintiff(s) pray(s) for relief and judgment against Defendants and
 2   all such further relief that this Court deems equitable and just as set forth in the 0DVWHU
 3
     &RPSODLQW, and any additional relief to which Plaintiff(s) may be entitled.
 4

 5                                           -85<'(0$1'

 6          Plaintiff(s) hereby demand a trial by jury as to all claims in this action.

 7                                                 ****
            By signature below, Plaintiff(s)’ counsel hereby confirms their submission to the authority
 8
     and jurisdiction of the United States District Court of the Northern District of California and
 9

10   oversight of counsel’s duties under Federal Rule of Civil Procedure 11, including enforcement as

11   necessary through sanctions and/or revocation of SURKDFYLFHstatus.

12                                                         /s/ Thomas C. Wicker, IV
                                                           T. Carey Wicker, III (La. 13450)
13                                                         Michael S. Sepcich (La. 24877)
                                                           Brian J. Capitelli (La. 27398)
14                                                         Thomas C. Wicker, IV (La. 37955)
15                                                         Capitelli & Wicker
                                                           1100 Poydras Street
16                                                         New Orleans, LA 70163
                                                           (504) 582-2425
17                                                         twicker@capitelliandwicker.com
18                                                         AND
19
                                                           William Wilson Blount (Al. 3136P60D)
20
                                                           Wilson Blount Attorney at Law, LLC
21
                                                           5529 Ash Grove Circle
22                                                         Montgomery, AL 36116
                                                           (334) 303-0799
23                                                         wwblount@blount-law.com
24
                                                           $WWRUQH\VIRU3ODLQWLII V 
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